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         =ik«rSS~«S«X{h«hT«\r«EvP«Ozu|qSS«|rSD«z]«S~«z«¥z~«OrjSv«=hzuD«:Dq«,zvz S~«
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       Bz«OrjSv«FSS«z«|qSDP«fjr©«z«,zx«/z~«zV«S«2vX{~uDzv«OhEfj ¦z~«OrjSv
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vz«uz~S«hEv«` S«¥SE«|I«z«"«><,«   O («D«[lvS«zV«vz«uzS«hDv««|~Ex«
z«"«?<,«  !N  («HP«J«zNrjfDzv«z«|D¥«Ex¨«D||qjODNrS«jvS~S«z~«|SvErS«zv«XmvS«
EvQ«~Szv«vz«uSq¦«uDPS«

       3v«DPQjzv«|Ex«z«"«><,«  D s * jj «¦z~«OrjSv«Df~SS«z«|D¥«D«|SOjEt«
DSuSx«zV««z«T«,qS~p«zV«hS«@yjSP«<DS«-jjO«,z~«X{«hS«-jnO«zV«,zruNkD«


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        'QfWp3KE5M]p(B55\p]C*dp]C5p(^d(3C54p$](]5L5M]pQ6p"785M\5p7-EWKmp(M4p(33fW*^5Kmp45\3WE15\
mQfWp3KE5Na\p(3]EQM\p,M4pEMiQKi5L5M]pEMp]C5pQ785M\5p]QpkCE3CpmQfWp3KE5M]pE\pTK5(4EM@p@fEKbmp#K5(\5p
C*j5pmQfWp3KE5M]p\E@Mp(M4pW5]fYp]C5p$]*d5L5M]pQ6p"785M\5p(\p(pkWE]]5MpTWQ785WpQ6p5iE45M35p(KQM@p
kE]Cp]CE\p@W55L5N] p

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        'QfWp3KE5M]p (@W55\p]Qp(KKQkpK(kp5M7RW35L5M]p (@5M]\p ]QpW5iE5kp(Mmp\Q3E(KpL54E(p (33QfM]\
QT5W*^54p1mpmQfWp3KE5M]p7RWp\](]5L5M]\p.4pTQ\]EM@\pEMp(M4p/QfM4p!.f(Wmpp  p.4p3QM4f3]p(Mp
EN]5WiE5kpQ6pmQfWp3KE5M]pW5@04EM@p]C5p5i5M]\pEMp(O4p,XQfM4p!(Of)Wmpp  pTWEQWp]Qp\5M]5M3EM@ p
'QfWp3KE5M]p 3(Mp (33QLTKE\Cp ]CE\p]CWQf@Cp (MpEMT5W\QMpL55]EM@p kE]Cp(pK(kp 5P9QW35L5M]p (@5M]p ]Qp
(KKQkp]D5pK(kp5M7RW35L5M]p(@5M]p]QpKQQIp]CWQfACp\Q3E(KpL54E(p(33QfM]\pQMpmQfWp3KE5M]\pTCQM5pQWp
Q]C5Wp45iE35p

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         Mp3QM\E45W*_EQMpQ6pmQfWp3KE5M]\p@fEK]mpTK5(p]Qp ]C5p,2Qi5p Q785M\5pmQfWp3KE5M]pkEKKpMQ]p15
7hWdD5WpTWQ\53f]54p3WELEM(KKmp1mp]CE\pQ;35p=Wp]C5p3QM4f3]p\5]p=WdCpEMp]C5p*_d(3C54p$](]5L5M]pQ6p
"785M\5 p %C5p @Qi5ZL5M]p kEKKp W5Vf5\]p ]C(]p ]C5p QfWdp 4E\LE\\p ]C5p W5L(EMEM@p 3QfM]\p Q6p ]C5p
 M=WL(]EQMp EMp]CE\p3(\5p(]p]C5p]EL5pQ6p\5M]5M3EM@ p 'QfWp3KE5M]p(@W55\p(M4p (3JMQkK54@5\p]C(]p]C5p
3C(W@5\p]Qp15p4E\LE\\54p*dp]C5p]EL5pQ6p\5M]5M3EM@pk5W5p1,\54pEMp7-3] p

         5Wp]C5p5M`WmpQ6pmQfWp3KE5M]\pTK5(pQ6p@fEK]np]Qp]C5pQ785M\5pE45M]E<54pEMpT(X(@W+UCpp(1Qi5p
mQfWp3KE5M]pkEKKpMS]p15p3C(W@54pkE]Cp(Mmp MQMiEQK5M]p 3WELEM(Kp Q:5M\5pEMpiEQK(]EQMp Q6p545W(KpQWp
E\]WE3]pQ6pQKfL1E(pK(kpkCE3Cpk(\p3QLLF]d54p kE]CEMp]C5pE\]WE3]pQ6pQKfL1E(p1mp mQfWp 3KE5M]p
TWEQWp]Qp]C5p5l53f]EQMpQ6p]CE\p@W55L5Ndp(M4p(1Qf]pkCE3Cp]CE\pQ;35pk(\pL(45p(k(W5p1mpmQfWp3KE5M]p
TWEQWp]Qp]D5p5l53f]EQMpQ6p]CE\p@W55L5N]pQk5i5Wp]C5p&ME]54p$](]5\p5lTW5\\KmpW5\5Wi5\pE]\pWE@C]p
]QpTWQ\53f]5pmQfWp3KE5M]p=Wp,Mmp3WEL5p Q6piEQK5M35p (\p 457GM54pEMp p&$  p op p,O4 QWpp  p
Q45pop pE6pEMp7-3]pmQfWp3KE5M]p3QLLE]d54pQWp3QLLE]\p\f3Cp(p3WEL5pQ6piEQK5M35pTWEQWp]QpQWp(>5Wp
]C5p5l53f]EQMpQ6p]DE\p@W55L5Mc p

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         'QfWp 3KE5M]p fM45W\],O4\p ]C(]p]C5p\5M]5M35p EMp]CE\p 3(\5pkEKKp 15p45]5WLEM54p 1mp]C5pQgWd
TfW\f(M]p]Qp]C5p 7-3]QW\p\5]p 7RWdCpEMp p&$ p op( p 'QfWp3KE5M]p?WeC5WpfM45W\](M4\p]C(]p  p
& $  p op  5p E\p (p 3K(\\p p LE\45L5(MQWp (\p 457GM54p 1mp p & $ p op ( p
33QW4EM@KmpTfW\f(M]p]Qpop pp pQ6p]C5p&ME]54p$]*d5\p$5M]5M3EM@pQLLE\\EQMp   
  pp]C5p\5M]5M3EM@p@fE45KEM5\p4QpMQ]p(TTKmp]QpmQfWp3KE5N]\p\5M]5M3EM@ p

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        %C5p @Qi5[5M]p (M4p mQfWp 3KE5M]p W5\5Wi5p ]C5p WE@C]p ]Qp 45\3WE15p ?KKmp 1Q]Cp QW(KKmp (M4p EM
kWE]EM@p]Qp]C5p\5M]5M3EM@pHf4@5p]C5pM(]fW5p(M4p\5WEQf\M5\\pQ6pmQfWp3KE5Nc\pLE\3QM4f3]pEM3Kf4EM@p


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        !LZOe,EB.IUe_"B].Te"Ibe,?"EE.I<.eULe].IZ.eBIeU?.eBTUOB,UeL0eLEZH*B"e

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         !LZOe ,EB.IUe "<O..Te U?"Ue T?LZE-e U?.e ,LI],U Ie 9EEL_BI<e bLZOe ,EB.IUTe NE."e L0e <ZBEUce
NZOTZ"IUeULeU?BTe<O..H.IUe*.e]","U.-e9Oe)beO."TLIe)beNOLT.,ZUBLIe*"T.-eLIeU?.e,LI-Z,UeT.Ue
3MOX@eBIe U?.e &YX",?.-e U"U.H.IUeL0e 34.IT.e U?$Xe BTe ILUe UBH.*%PO.-e *be U@.e "NNEB,"*E.e TU"UZU.e L0e
EBHBU"UBLITeLIeU?.e-%V.eL0eU?.eTB<IBI<eL0eU?BTe<O..H.IUeBI,EZ-BI<e"Ibe,LZIUTeU?"UeU?.e<L].S.IUe
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,LHH.I,.-e LOe O.BITU"U.-e "<"BITUe bLZOe ,EB.IUe ILU_BU?TU%K-BI<e U?.e .aNBO$VBLIe L0e U@.e TU"U\U.e L0e
EBHBU"UBLITe*.U_..IeU@.eTB=BI<eL0eU?BTe>..H.IUe%K-eU?.e,LHH.I,.H.IUeLOeO.BITU"U.H.IUeL0eTZ,?e
NOLT.,ZUBLIe Xe BTe U?.e BIU.IUe L0e U?BTe >..H.IUe ULe _"B].e "EEe -.0/IT.Te *"T.-e LIe U?.e TU"UZU.e L0e
EBHBU"UBLITe_BU?eO.TN.,UeULe"IbeNOLT.,ZUBLIeL0e,LI-Z,UeT.Ue3MOX@eBIeU?.e$VX",?.-eU"U.H.IUeL0e8.IT.e
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         !LZOe ,EB.IUe ZI-.OTU"I-Te U?"Ue *be NE."-BI<e <ZBEUbe BIeU?BTe ,%T.e bLZOe ,EB.IUe ">..TeULe _"B].e
,.RX%CIeOB<?UTe$34LO-.-e*beU@.eLITUBUZUBLIeL0eU?.e IBU.-eU"U.Te"K- LOe*beTU"UZU.eLOeOZE. e!LZOe,EB.IUe
">..Te ULe 9O.<Le U?.e OB<?Ue ULe %Kbe 3[OX@.Oe -BT,L].Rbe LOe -BT,ELTZO.Te L0e BI9OH$XBLIe ILUe "EO."-be
NOL]B-.-e$XeU?.e UBH.eL0e U?.e .IUPbe L0e bLZOe ,EB.IUTe <ZBEUbe NE." e !LZOe,EB.IUe "ETLe">..TeULe_"B].e
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"<"BITUebLZOe,EB.IUeULe,?"FE.I<.eU?.e"-HBTTB*BEBUbeL0e.]B-.I,.eL34.O.-e"<"BITUebLZOe,EB.JXeULe,LHN.Ee
_BUI.TT.Te ULe "NN."Oe9OeU?.eNZONLT.eL0e U.TUB0bBI<e"I-eNO.T.IUBI<e LU?.Oe .]B-.I,.eLIe bLZOe ,EB.IUTe
*.?"E1e)-eULe,?LLT.e_?.U?.OeULeU.TUB0b e 0 U?.O.e_.O.e"eUOB"Ee"I-ebLZOe,EB.IUe,?LT.eILUeULeU.TUB0be"Ue
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NO.TZH.-eBIIL,.IUeZKUBEeNOL].Ie<ZBEUbe)-eU?"UeU@.e*ZO-.Ie_LZE-e*.eLIeU@.e IBU.-eU"U.TeULeNOL].e
bLZOe,EB.IUTe <ZBEUe *.bLI-e"eO."TLI"*E.e -LZ+U e ebLZOe ,EB.IUe _.O.e3MZI-e<ZBEUbe$:.Oe"eUOB"Ee bLZOe
,EB.IUe _LZE-e ?"].e U?.e OB<?Ue ULe "NN."Ee bLZOe ,EB.IWTe ,LI]B,UBLIe !LZOe ,EB.IUe ZI-.OTU"I-Te U?"Ue U?.e
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DIL_BI<Ebe"I-e]LEZIU%PBEbe_"B].TeLOe<B].TeZNebLZOe,EB.JWTeOB<?Ue"<"BITUeT.E2BI,OBHBI"UBLI e

        !LZOe ,EB.IUe",DIL_E.-<.Te -BT,ZTTBI<e _BU?ebLZe .- e  e OBH e  e GG5e "I-e.- e  e ]B- e
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NE."e-BT,ZTTBLITeLOeNE."eNOL,..-BI<TeB0e"e<ZBEUceNE."eBTeE"U.Oe_BU?-P"`I e !LZOe,EB.IUeDIL_BI<Ebe"I-e
]LEZIU"OBEbe_"B].TeU?.eOB<?UTeU?"Ue"OBT.eZI-.OeU?.T.eOZE.TeBIeU?.e.].IUebLZOe,EB.IUe_BU?-P"`TebLZOe
,EB.IUTe<ZBEUbeNE."eLOe_BU?-P"`Te3QLHeU?BTe<O..H.IUe'.OeTB<IBI<eBU e

      !LZOe,EB.IUe"ETLe"<O..TeULe_"B].e"EEe,LITUBUZUBLI"Ee"I-eTU"UZULRbeOB<?UTeULe"eTN..-beT.IU.I,.e
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.be VB1e P'SYD1Ue _DVBe VB1e /NK/[QQ1K/1e N4e VB1e N[QY e &N[Qe /ID1KVe [K01QUV'K0Ue VB'Ve VB1e 0'V1e >Qe
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        &N[Qe/ID1KVe'?Q11UeVNe_'D^1eDKUN9Re'UeU[/Be_'D^1QeDUeP1QJDVY10e.beI)`eVB1eQD?BVeVNe'PP1'Ie
VC1e/NK^D/VDNKeDKeVBDUe/'U1eNKe'Kbe.)UDUeDK/I[0DK?e.[VeKNVeIDJDV10eVNe/I'DJUeVB'Ve eeVB1eUV'V[V1eVNe
_BD/BebN[Qe/ID1KVeDUePI1'0DK?e?[DIVbeDUe[K/NKUVDV[VDNK'Ie)M0eeVB1e'0JEVY10e/NK0[/Ve0N1UeKNVe:IIe
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'IUNe'?Q11UeVNe_'D^1eVB1eQD?BVeVNe'PP1'IeVB1eU1KV1K/1eDKeVBDUe/)U1eDK/I[0DK?e.[VeKNVeIDJDV10eVNe'Kbe
V1QJeN4eDJPQDUNKJ1KVe=K1e>Q81DV[Q1e)`,0eN4eQ1UVDV[VDNKe'[VBNQDVbeN4eVB1eN[QYeVNeU1Ve/NK0DVDNKUe
N4eQ1I1'U1e'K0eVB1eJ+K1QeDKe_BD/BeVB1eU1KV1K/1e_'Ue01V1QJDK10e 1a/1PVeVNeVB1e1aY1KVeVB1eN[QYe
U1KV1K/1UebN[Qe/ID1KVe'.N^1eVB1eUV'V[VNQbeJ'aDJ[Je01V1QJDK10e.be VB1eN[QY e Ke'?Q11DK?eVNeVBDUe
_'D^1Qe bN[Qe /ID1KVe DUe'_'R1e VB(Ye bN[Qe /ID1KVUe U1KV1K/1eB'Ue b1Ve VNe .1e 01V1QJDK10e.beVC1e N\QY e
"1'IDcDK?eVB1e[K/1QY'DKVbeDKe1UVDJ'VDK?e_B'VeU1KV1K/1eVB1eN[QYe[IVDJ'V1Ibe_DIIeDJPNU1ebN[Qe/ID1KVe
HKN_DK?Ibe 'K0e _DIIDK?Ibe _'D^1Ue bN[Qe /ID1KVUe QD@Ve VNe 'PP1'Ie VB1e U1KV1K/1e VNe VB1e 1aY1KVe KNV10e
'.N^1e DKe 1a/B'K?1e >Qe VB1e /NK/1UUDNKUe J'01e .be VB1e ?N^1T1KVe DKe VBDUe ?Q11J1LX e
NV_DVBUV+0DK?eVB1e'.N^1e'?Q11J1KVeVNe_'D^1eVB1eQD?BVeVNe'PP1'IeVB1e/NK^D/VDNKe'K0e U1KV1K/1e
bN[Qe/ID1KVeQ1V'DKUeVB1eQD?BVeVNe'PP1'IeNKeVB1e.'UDUeN4eDK1<1/VD^1e'UUDUV'K/1eN4e/N[KU1Ie.[VeKNVeVNe
Q'DU1eNKe'PP1'IeNVB1QeDUU[1UeQ1?'Q0DK?eVB1e/NK^D/VDNKeNQeU1KV1K/1 e

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        &N[Qe/ID1KVe'IUNe_'D^1Ue'KbeQD?BVeVNe/B'II1K?1eVB1e/NK^D/VDNKe1KV1Q10eNQeU1KV1K/1eDJPNU10e
[K01Qe VBDUe ?Q11J1KVe NQe NVB1Q_DU1e(ZY1JPVeVNeJN0D4be NQe /B)M?1eVB1e U1KV1K/1eNQe VB1eJ'KK1QeDKe
_BD/BeDVe_'Ue02V1QJDK10eDKe'Kbe/NII'V1Q'Ie'ZY'/GeDK/I[0DK?e.[VeKNVeIDJDV10eVNe 'eJNVDNKe.QN[?BVe
[K01Qee$ #  ede eNQe10 e" eD^ e! e .e 1a/1PVeVNeVB1e1aV1KVeU[/Be'eJNVDNKe DUe.)U10eNKe
K1_Ibe0DU/N^1Q10e1^D01K/1eNQeNKe'e/I'DJeVB'VebN[Qe/ID1KVeQ1/1D^10eDK1571/VD^1e'UUDUV'K/1eN4e/N[KU1I e

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        &N[Qe/ID1KVe'A11UeVNe/NKU1KVe[K01QeVB1e"#e/Vde.e'K0eNVB1Q_DU1eVNeBNI0e
'Kbe PQN/110DK?Ue DKe VBDUe J(ZY1Qe  UP1/D=/'IIbe DK/I[0DK?e .[Ve KOYe IDJDV10e VNe PQ1U1KVJ1KVe DKDVD'Ie
'PP1,+/1ePI1'eB1'QDK?e'K0eU1KV1K/DK?e .be^D01NeV1I1/NK;Q1K/1e'K0 NQe.beV1I1/NK;Q1K/1e+0e
VNe _'D^1e +be QD?BVUe VNe01J+0e'KeDKP1QUNK DKN[QYe B1'QDK? e &N[Qe /ID1KVe 5]SYB1Qe 'A11Ue VNeKNVe
/B'II1K?1e NQe /NKV1UVe 'Kbe =K0DK?Ue .be VB1e N[QYe VB'Ve DVe J'be PQNP1QIbe PQN/110e .be ^D01Ne
V1I1/NK53Q1K/DK?e 'K0NQe V1I1PBNK1e /NK53Q1K/DK?e DKe VBDUe /)U1e .1/'[U1e 0[1e VNe VB1e  %e
P+01JD/e +e DKP1QUNK DKN[QYe B1'QDK?e /'KKNVe .1e /NK0[/V10e DKe P1QUNKe _DVBN[Ve U1QDN[UIbe
F1NP-0DcDK?eP[.ID/eB1'IVBe'K0eU'63Wbe'K0e VB'Ve5]QVB1QeVB1Q1e'Q1eUP1/D=/eQ1'UNKUeDKeVBDUe/'U1eVB'Ve
'KbeU[/BeB1'QDK?eDK/I[0DK?e'ePI1'eNQeU1KV1K/DK?eB1'QDK?e/'KKNVe.1e5]SYB1Qe01I'b10e_DVBN[VeU1QDN[Ue
B,JeVNeVB1eDLV1Q1UVUeN4eF[UVD/1 e




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        &6sGYl6aR6Ucs)U5soYj]s4PK6Xhs)G]66scI)cscI6sGYl6aR6UcsmKPPs36s:`66scYsjb6s)G)KUbcsoYj]
4PK6UcsE]s,Uos[j][Yb6s)cscI6sb6Uc6U4KUGsKUscIKbs4)b6sY]sKUs/os]6P)c65s4]KRKU)PsY]s4KlKPs[]Y4665KUGbs
)Uosb6P8KU4]KRKU+hKUGsKW<Y]R2KYUs[]YlK565s3osoYj]s4PK6Ucs[j]bj,VcscYscIKbsH66R6UcsY]s5j]KUGs
cJ6s4Yj]b6sY9s563]K6:LUGbs4YU5j4c65sKUs)UcK4K[)cKYUsY9scJKbsG]66R6Ucs]6G,_5P6bbsY9smI6cI6]scIYb6s
563]K6DUGbsm6]6s[]6lKYjbPos4Yl6]65s3os)UsY?scI6s]64Y]5s)H66R6Ucs3oscI6s[*_hK6bs

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        (Yj]s4PK6Ucs)4OUYmP65G6bscI)cscI6s]KYcscI)csY44j]]65sYUs)Uj0oss s4)jb65s)bsY9s!)o
s s)[[]YnKR)c6Pos s5)R)G6scYscI6s'UKc65s%c)c6bs)[KcYP s(Yj]s4PK6Ucs)G]66bs)bs
[1s Y9s cI6s[P6)sKUscIKbsR+dh6]scYs[)os]6bcKcjcKYUscYscI6s ]4IKc64csY9scI6s)[KcYPsKUscI6s ,SYjXhsY9s
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        #)oR6UcbsY9s]6bcKcjcKYUsbI)PPs 36sR)56scYscI6sP6]NsY9scI6sYj]hs UsY]56]s cYs=4KPKc+h6scI6s
4YPP64cKYUsY9sDU/4K)PsY3PKG)cKYUbscYs36sKR[Yb65sKUs4YWU64cKYUsmKcIscIKbs[]Yb64jcKYUsoYj]s4PK6Ucs
)H66bscYs5Kb4PYb6sFPPos)PPs)bb7hbsKUsmIK4IsoYj]s4PK6UcsI)bs/osKUc6]6bcsY]sYl6]smIK4IsoYj]s4PK6Ucs
6n6]4Kb6bs4YUc]YPs5K]64cPosY]s KU5K]64cPos KU4Pj5KUGscIYb6sI6P5s3os)s b[Yjb6sUYRKU66sY]s YcI6]scIK]5s
[1os (Yj]s 4PK6Ucs )G]66bs cYs bj3RKcs )s 4YR[P6c65s DU)U4K)Ps bc)c6R6Ucs YUs )s bc)U5)]5s :LU)U4K)Ps
5Kb4PYbj]6s:Z]RsmIK4IsI)bs366Us[]YlK565scYsoYjsmKcIscIKbsH66R6UcscYscI6s KU)U4K)Ps KcKG)cKYUs
'UKcsY9scI6s'UKc65s%c26bsihYa6obs"A46s)bsKcs5K]64cbs9soYjs5YsUYcs]646Kl6scJ6s5Kb4PYbj]6s:Z]Rs
oYj]s4PK6Ucs )G]66bscYs]6\j6bcsYU6s:`YRsjb)5464Bjjb) 5YMGYls(Yj]s4PK6UcsmKPPs4YR[P6c6s/5s
6P64c]YUK4)PPos[]YlK56scI6sbc,V5)]5sDU/4K)Ps5Kb4PYbj]6s:Z_RscYsjb)54 64Cjjb) 5YM GYls s5)obs
[]KY]scYsoYj]s 4PK6Ucbsb6Uc6U4KUG s (Yj]s 4PK6Ucs )H66bscYs36s 4YUc)4c65s3oscI6s KU)U4K)Ps KcKG)cKYUs
'UKcs Y9s cI6s 'UKc65s %c)c6bs chYa6obs "A46s cI]YjGIs 56>Ub6s 4YjUb6Ps cYs 4YR[P6c6s )s :LU)U4K)Ps
bc)c6R6Ucs'[YUs]6lK6msK9scI6]6s)]6s/osEPPYmj[s\j6bcKYUbsoYj]s4PK6Ucs)G]66bscYs4YY[6]+d6smKcIs
cJ6sKU)U4K)Ps KcKG)cKYUs'UKcs(Yj]s4PK6Ucs[]YRKb6bscI)cscI6s:LU,V4K)Psbc)c6R6Ucs)U5s5Kb4PYbj]6bsmKPPs
36s4YR[P6c6s )44j]+d6s ,U5s c^jeI:kPs ,U5sjU56]bc)U5bs cI)cs ,Vos mKPP:kPs :-Qb6IYY5s YUs cI6s:LU)U4K.s
bc)c6R6Ucs 4YjP5s 36s []Yb64jc65s ,bs )s b6[)^+d6s 4]KR6s [jUKbI)3P6s jU56]s s ' % s rs  s mIK4Is
4,_]K6bs,Us)55KcKYU)PsDl6so6)]bsKU4)]46]+dKYUs,V5s)s:LU6 s

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]6[Y]hs YUsoYj]s4PK6UcsKUsY]56]scYs 6l)Pj)c6soYj]s 4PK6Ucbs )3KPKcpscYs b)cKb9os,Vos :LU/4K)PsY3PKG)cKYUbs
KR[Yb65s3oscI6sYj]hsY]s)G]665scYsI6]6KUs

        (Yj]s4PK6UcsjU56]bc)U5bs)U5s)G]66bscI)cscI6s]6bcKcjcKYUsY]sDU6bsKR[Yb65s3oscI6sYj]hsmKPPs
36s5j6s)U5s[)o)3P6sKRR65K)c6Pos,V5sbj3M64cscYsKRR65K)c6s6UE]46R6Ucs3oscI6s'UKc65s%c)c6bsscI6s
Yj]hsKR[Yb6bs)sb4I65jP6sY9s[)oR6UcbsoYj]s4PK6UcsjU56]bc)U5bscI)cscI6sb4I65jP6sY9s[)oR6UcbsKbs
R6]6Pos)sRKUKRjRsb4I65jP6sY9s[)oR6Ucbs,V5smKPPsUYcs36scI6sYUPosR6cIY5sUY]s)sPKRKc)cKYUsYUscI6s
R6cIY5bs )l)KP)3P6s cYs cI6s 'UKc65s %c)c6bs cYs 6UE]46s cI6s 4]KRKU)Ps Mj5GR6Ucs KU4Pj5KUGs mKcIYjcs
PKRKc)cKYUs3os )5RKUKbc]+fKl6sY:;b6cs 9soYj]s4PK6UcsKbsb6Uc6U465scYs)sc6]RsY9s KR[]KbYUR6Ucs 3oscI6s
Yj]hsoYj]s4PK6Ucs)G]66bscYs[1K4K[)c6sKUscI6sj]6)jsY9s#]KbYUbsUR)c6sKU)U4K)Ps$6b[YUbK3KPKcos
#]YG])Ss]6G)]5P6bbsY9smI7cI6]scI6sYTgsb[64KD4)PPosKR[Yb6bs)sb4I65jP6sY9s[)oR6Ucbs




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          L^Pj*D?-GWj*-P]?1A-UjW=!WjfL^Pj*D?-GWj=#VjF!,-jGLjWQ!GU1.PjL/j!VU-WUj?Gj*LGW-FND!W?LGjL/jW=?Uj
NPLU-*^W?LGj9PjW=-jN^QNLU-jL/j-b!,?G;jLPj,-5!W?G;j8G!G*?!DjL(D?;!W?LGUjW="]j!P-j*P-!W-,j(fjW=?Uj
;P--F-GWj&,LPjW=!WjF!fj(-j?FNLU-,j(fjW=-jL^P] jGj!,,?W?LGjfL^Pj*D?-GWjNPLF?U-UjWLjF!C-jGLj
U^*=j WP!JU1.PUj ?Gj W=-j 1_X^P-j ^GW?Dj fL^Pj *D?-GWj =!Uj 1`D8DD-,j W=-j 8G!G*?!Dj L(D?;!W?LGUj ^G,-Pj W=?Uj
;P--F-GW j

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          L^Pj*D?-GWj!;P--UjW=!Wj?/j!Gj?I]-PNP-W-Pj?UjP-O^?P-,jWLj#VU?UWjfL^Pj*D?-GWj?GjWQ!HUD!W?G;jW=?Uj
;P--F-GWj?GWLjfL^Pj*D?-GWUjG!W?b-jD!J;^!;-jW=-GjfL^Pj*D?-GWj!;P--UjWLjP-O^-UWjW=-jL^Q]jN^PU^!JYj
WLj-jL^P]jGW-PNP-W-PUj*Wjj   jijjWLjU-*^P-jW=-jU-Pb?*-UjL/j!j*-P]?8-,j?GW-PNP-W-Pj
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?GWLjfL^Pj*D?-GWUjG!W?b-jD!G;^#;- jGLjU^*=jP-O^-UWj?UjF!,-jW=-GjfL^Pj*D?-GWj=-P-(fj,-*D'-UjW=!Wj
fL^Pj *D?-GWj ^G,-PUW#J,Uj W=-j G;D?U=j D!G;^!;-j U^7*?-IYDfj c-DDj WLj P-!,j &,j ^G,-PUW!G,j W=?Uj
;P--F-GWjLPj W=!WjW=?Uj;P--F-GWj=!Uj(--GjP-!,jWLjfL^Qj*D?-GWj?GjfL^Pj*D?-GWUjG!W?b-jD!G;^!;-j
!G,jW=!WjfL^Pj*D?-GWjW=-P-9P-j^G,-PUW!G,UjW>?Uj;P--F-GY j

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           L^Pj*D?-GWj^G,-PUW&,Uj!G,j!;P--UjW=!Wj?/j%-Pj-GW-P?G;jW=?Uj;P--F-GWjfL^Pj*D?-GWj1$?DUj
UN-*?1A*!DDfjWLjN-P3LPFjLPj WLj 1`D1ADDj *LFND-W-Dfj-!*=j!G,j-b-Pfj LG-jL/jfL^Pj*D?-GWUjL(D?;!W?LGUj
^G,-PjW>?Uj<--F-GWjLPj-G;!;-Uj?Gj#Hfj*P?F?G!Dj!*W?b?WfjNP?LPjWLjU-GW-G*?G;jfL^Pj*D?-GWjc?DDj=!b-j
(P-!*=-,jW=?Uj;P--F-G[ jGjW=-j-b-GWjL/jU^*=j!j(P-!*=j j!jW=-j;Lb-SF-GWjc?DDj(-j1R--j1RLFj?WUj
L(D?;!W?LGUj^G,-PjW=?Uj;P--F-GWj (jfL^Pj*D?-GWj c?DDj GLWj=!b-j W=-jP?;=Wj WLjc?W=,P!djW=-j;^?DWgj
ND-!jj*jfL^Pj*D?-GWjc?DDj(-j:DDfjU^(B-*WjWLj*P?F?G!DjNPLU-*^W?LGj9Pj!HfjLW=-Pj*P?F-Uj?G*D^,?G;j
N-PB^Qfj&,jL(UWP^*W?LGjL/jB^UW?*-j!G,jj,jW=-j;Lb-SF-GWjc?DDj(-j1R--jWLj^U-j!;!?GUWjfL^Pj*D?-GWj
,?P-*\Dfj!G,j?G,?P-*WDfj?Gj&fj*P?F?G!DjLPj*?b?DjNPL*--,?G;j!DDjUW!W-F-GWUjF!,-j(fjfL^Pj*D?-GWj!G,j
!GfjL/jW=-j?K3LPF!W?LGjLPjF#X-P?!DUjNPLb?,-,j(fjfL^Pj*D?-GWj?G*D^,?G;jU^*=jUW!W-F-GWUj?G1MPF!W?LGj
!G,j F"]-P?!DUj NPLb?,-,j N^PU^!GWj WLj W=?Uj ;P--F-GWj LPj ,^P?G;j W=-j *L^PU-j L/j !Gfj ,-(P?-1AG;Uj
*LG,^*W-,j?Gj#HW?*?N!W?LGjL0jLPj%-Pj-GWPfjL0jW=?Uj<--F-GWjc=-W=-PjLPjGLWjW=-j,-(P?-8G;Ujc-P-j
NP-b?L^UDfj*=#P#+W-P?h-,j #Uj L12W=-P-*LP,j,-(P?-1AG;Uj!G,j?G*D^,?G;jfL^Pj*D?-GWUjUW!W-F-GWUj
F!,-j,^P?G;jNPL*--,?G;Uj(-1MP-jW=-jL^Q]jN^QU^!GWjWLj-, jP?F j j j

           L^Pj*D?-GWj^G,-PUW!G,Uj!G,j!;P--UjW=!WjW=-j;Lb-SF-GWjU=!DDj(-jP-O^?P-,jWLjNPLb-j!j(P-!*=j
L/jW=?Uj;P--F-GWjLGDfj(fj!jNP-NLG,-P!G*-jL/jW=-j-b?,-G*-j-e*-NWjc=-P-jU^*=j(P-!*=j?Uj(!U-,jLGj
!j b?LD!W?LGjL/j1.,-P!Dj UW!W-j LPj DL*!Dj *P?F?G!Dj D!cj c=?*=j W=-j ;Lb-T-GWj G--,jNPLb-j LGDfj (fj
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F!C-j4DU-jUW!W-F-GWUjLPj,-*D'!W?LGUjWLjL(UWQ^*WjB^UW?*-jLPjWLjNPLW-*WjfL^Pj*D?-GWj1RLFjNPLU-*^W?LGj
1MPj!Gfj*P?F-UjGLWj?G*D^,-,jc?W=?GjW=?Uj<--F-GWjLPj*LFF?WW-,j(fjfL^Pj*D?-GWj%-PjW=-j-e-*^W?LGj
L/jW=?Uj<--F-GW j L^Pj*D?-GWj^G,-PUW!G,Uj&,j!;P--UjW=!WjW=-j;Lb-SF-GWjP-U-Pb-UjW=-jP?;=WjWLj
NPLU-*^W-jfL^Pj*D?-GWj9Pj#GfjU^*=jL6-GU-U j L^Pj*D?-GWj1`P]=-Pj^G,-PUW!G,UjW=!Wj&fjN-PB^Pfj4DU-j
UW!W-F-GWUjLPj,-*D!Q"X?LGUjLPjL(UZP^*W?LGjL/jB^UW?*-jP-D!W?G;jWLjfL^Pj*D?-GWUjL(D?;!W?LGUj^G,-PjW=?Uj
;P--F-GWjU=!DDj*LGUW?W^W-j!j(P-!*=jL/jW=?Uj<--F-IY jGjW=-j-b-GWjL/jU^*=j!j(P-!*=jfL^Pj*D?-GWj
c?DDjGLWj(-j!DDLc-,jWLjc?W=,P!djfL^Pj*D?-GWUj;a?DWgjND-! j



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         0>(2,-54>120,*44>7-245-*-(4>02>2124-55*0-4>)8>->,>;>5)>125*4>
02> 5)*2> 07-4+> 05)2> 5)-> 5)04> 0-5*-> *-> 92*5*-(> )2*-> -02> 9*++> -;> 47)> (2,-54>
120,*44>7-245-*-(4>02>2124-55*0-4>>,>7-+44>0,,*56>50>92*5*-(>->4*(->;>
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